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     David H. Grounds (admitted pro hac vice)
 1 MN Bar No. 285742
 2 Jacob R. Rusch (admitted pro hac vice)
     MN Bar No. 391892
 3   444 Cedar Street, Suite 1800
     St. Paul, Minnesota 55101
 4   Telephone: (612) 436-1800
     Fax: (612) 436-1801
 5   Email: dgrounds@johnsonbecker.com
 6   Email: jrusch@johnsonbecker.com

 7 Attorneys for Plaintiffs
 8 (Additional Counsel Listed on Signature Block)
 9
                                  UNITED STATES DISTRICT COURT
10
                                         DISTRICT OF NEVADA
11
12 RAYMOND WRIGHT, an individual and
     resident of Nevada; on behalf of himself and        CASE NO.: 2:15-cv-00056-JAD-NJK
13 all similarly situated individuals,
14
            Plaintiff,
                                                         JOINT STATUS REPORT AND
15                                                       PROPOSED DISCOVERY PLAN
            vs.
16
   JACOB TRANSPORTATION, LLC, a
17 Nevada Limited Liability Company, D/B/A
   EXECUTIVE LAS VEGAS,
18
            Defendants.
19
20
21          Plaintiff and Defendants (collectively “The Parties), by and through their respective counsel

22 of record, pursuant to Rule 26(f) of the Federal Rules of Civil Procedure (“FRCP”), Local Rule 6-1,
23 26-1, and 26-4, stipulate and agree to the following Discovery Plan and Scheduling Order.
24
            Pursuant to the Court’s December 21, 2017 Order (#64), counsel for the parties met-and-
25
     conferred and agreed in regard to the following status report and proposed schedule to move this case
26
     forward to completion.
27
28

      JOINT STATUS REPORT AND
      DISCOVERY PLAN                                 1                  CASE NO. 2:15-CV-00056-JAD-NJK
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                                                        I.
 1
 2                                         STATUS OF THE CASE

 3          Plaintiffs filed their Complaint asserting three claims for relief: (1) violation of the Fair Labor

 4 Standards Act (“FLSA”) in regard to minimum wage obligations: (2) violation of the FLSA in regard
 5 to payment of overtime; and (3) retaliation. The parties engaged in substantial initial pleading motion
 6
     practice, as well as additional motion practice addressing the collection action allegations.
 7
            In January of 2017, Defendant Jacob Transportation Services, LLC filed a motion for partial
 8
     summary judgment (#55), which sought a determination as to the FLSA minimum wage claim. That
 9
10 motion was pending with the Court since filing, but was recently addressed, and granted, by Order
11 (#60) entered on September 28, 2017. Such Order leaves the overtime claim and the retaliation claim
12 for possible discovery and further litigation.
13
                                                        II.
14
                          DISCOVERY THAT REMAINS TO BE COMPLETED
15
            Following this Court’s Order eliminating the minimum wage claim (#60), the scope of the
16
17 discovery and related litigation has narrowed. Nevertheless, the parties will need to conduct discovery
18 as to the facts and merits surrounding the FLSA overtime claim as well as Raymond Wright’s claims
19 regarding retaliation. This will require document requests, discovery as to the vehicles used by the
20 economy lot shuttle bus drivers who are the plaintiffs in this case, the arrangements that Jacob
21
     Transportation Services has with Clark County as operator of McCarran International Airport, as well
22
     as discovery as to time worked, amount compensated, and whether the trip sheets and related
23
     documentation correctly reflect such factual matters.
24
25                                                     III.

26                          REASONS DISCOVERY WAS NOT COMPLETED

27          The Parties have engaged in substantial motion practice in this case and there was a substantial
28 issue regarding whether there would be any minimum wage claims in light of the documents provided

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      DISCOVERY PLAN                                   2                   CASE NO. 2:15-CV-00056-JAD-NJK
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     as to those claims and the motion and related pleadings filed with the Court. Now that the case has
 1
 2 been determined to only involve overtime claims and a claim for retaliation, the parties should be able
 3 to finalize discovery within a reasonable period and without expenditure of time of matters for which
 4 determination has been made by the Court.
 5                                                    IV.
 6
                     PROPOSED SCHEDULE FOR COMPLETING REMAINING
 7                        DISCOVERY AND DISPOSITIVE MOTIONS

 8          Based on the above, the Parties stipulate and agree to the following deadlines:

 9          Discovery Cut-Off Date. The Parties propose a discovery cut-off date of: July 10, 2018.
10          Amendment of Pleadings and Addition of Parties. The most recent date of amending claims
11
     and adding parties has expired.
12
            Dispositive Motions. The dispositive motion deadline shall be August 10, 2018.
13
            Disclosure of expert reports. Any supplemental expert reports must be disclosed by May 10,
14
15 2018.
16          Disclosure of rebuttal expert reports. Any rebuttal expert reports must be disclosed by June

17 11, 2018.
18          Pre-Trial Order. The joint pretrial order must be filed no later than thirty (30) days after the
19
     Court’s decision on any Dispositive Motions.
20
            FRCP 26(a)(3) Disclosures. The disclosures shall be included in the joint pretrial order.
21
22          The interim status report shall be filed by the parties by May 10, 2018.
23
     DATED: January 5, 2018                                 DATED: January 5, 2018
24
     LOVATO LAW FIRM, P.C.                                  JOHNSON BECKER PLLC
25
     /s/ Mario Lovato                                       /s/ David Grounds
26 MARIO P. LOVATO                                          DAVID H. GROUNDS
     Nevada Bar No. 7427                                    Admitted pro hac vice
27 7465 W. Lake Mead Blvd. Ste. 100                         MN Bar No. 285742
28 Las Vegas, NV 89128                                      Jacob R. Rusch (admitted pro hac vice)
     TEL: (702) 979-9047                                    MN Bar No. 391892
      JOINT STATUS REPORT AND
      DISCOVERY PLAN                                  3                   CASE NO. 2:15-CV-00056-JAD-NJK
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     FAX: (702) 554-3858
 1 Email: mpl@lovatolaw.com                    444 Cedar Street, Suite 1800
                                               St. Paul, Minnesota 55101
 2
     Attorney for Defendant                    Telephone: (612) 436-1800
 3                                             Fax: (612) 436-1801
                                               Email: dgrounds@johnsonbecker.com
 4                                             Email: jrusch@johnsonbecker.com
 5                                             Jason J. Thompson (pro hac vice pending)
 6                                             MI Bar No. P47184
                                               Jesse L. Young (pro hac vice pending)
 7                                             MI Bar No. P72614
                                               SOMMERS SCHWARTZ, P.C.
 8                                             One Towne Square, 17th Floor
                                               Southfield, Michigan 48076
 9                                             Telephone: (248) 355-0300
10                                             Email: jthompson@sommerspc.com
                                               Email: jyoung@sommerspc.com
11
                                               Don Springmeyer
12                                             NV Bar No. 1021
                                               WOLF, RIFKIN, SHAPIRO,
13                                             SCHULMAN & RABKIN, LLP
14                                             3556 E. Russell Road, Second Floor
                                               Las Vegas, Nevada 89120
15                                             Telephone: (702) 341-5200
                                               Fax: (702) 341-5300
16                                             Email: dspringmeyer@wrslawyers.com
17                                             Attorneys for Plaintiffs
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19
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21
22
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      JOINT STATUS REPORT AND
      DISCOVERY PLAN                       4                   CASE NO. 2:15-CV-00056-JAD-NJK
